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                                #:29898

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                                       UNITED STATES DISTRICT COURT
  14
                            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15

  16     JENNY LISETTE FLORES, et al.,            )    Case CV 85-4544 DMG-AGRx
                                                  )
  17
                         Plaintiffs,              )   [REDACTED] CORRECTED POINTS
  18                                              )   AND AUTHORITIES IN SUPPORT OF
                - vs -                            )   MOTION TO ENFORCE
  19                                              )   SETTLEMENT AGREEMENT
  20     WILLIAM BARR, ATTORNEY                   )
         GENERAL                                  )   [FILED UNDER SEAL PURSUANT TO
  21     OF THE UNITED STATES, et al.,            )   ORDER OF THE COURT DATED JUNE 25,
                                                      2019]
  22
                                                  )
                         Defendants.              )    [HON. DOLLY M. GEE]
  23                                         _
  24

  25

  26

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        I.     INTRODUCTION
  2
              On January 28, 1997, this Comi approved a class-,vide settlement of this
  3
        case setting minimum national standards for the detention, treatment, and
  4

  5     prompt release of accompanied and unaccompanied minors detained by federal
  6     immigration authorities. Flores Settlement Agreement [Doc. # 101]
  7
        ("Settlement").
  8

  9
              The Settlement requires that Defendants make and record prompt and

  10    continuous efforts aimed at the release of class members to sponsors identified
  11
                                       ,r
       in the Settlement. Settlement 14. If prompt release is not possible, Defendants
  12
        are required to expeditiously place class members in non-secure facilities
  13

  14   licensed for the care of dependent children. Settlement ,r 19.
  15          The evidence filed with this motion shows that the U.S. Department of
  16
       Health and Human Services' Office of Refugee Resettlement ("ORR"), which
  17

  18
       detains all unaccompanied minors commencing seventy-two hours after

  19    apprehension, has adopted policies and practices in violation of the Settlement
  20
        by detaining as many as 2,350 unaccompanied minors in an unlicensed and
  21
       secure military-style camp in Homestead, Florida ("Homestead"), while
  22

  23    routinely failing to expeditiously transfer minors to licensed facilities if not
  24   promptly released to sponsors. 1
  25

  26   1 Pursuant to Local Rule 7-3, Plaintiffs have met and conferred with Defendants
  27
       regarding this motion. Plaintiffs believe the issues raised are not within the

  28
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  1           Plaintiffs seek an Order requiring that Defendants release class members
  2
        or transfer them to a licensed facility within fourteen (14) days of placement in

        Homestead.
  4

  5     II.   STATEMENT OF FACTS
  6           In February 2018, ORR opened a mass detention facility for
  7
        unaccompanied minors in Homestead.2 Homestead is not licensed by the state of
  8

  9
        Florida and is therefore not regulated by state child welfare and foster care

  10    authorities. 3 Defendants plan to expand Homestead so it will detain as many as
  11
        3,200 class members. U.S. Dep't Health & Human Servs., Fact Sheet:
  12
        Unaccompanied Alien Children sheltered at Homestead Job Corps Site,
  13

  14

  15    current jurisdiction of the Special Master but nevertheless informed the Special
  16    Master and Defendants that Plaintiffs are prepared to have the Special Master
        serve as a mediator regarding the claims in this motion. On June 10, 2019, upon
  17    Stipulation [Doc. #552], the Court Ordered the Motion to Enforce be set for
        mediation with the Monitor. [Doc. #553]..
  18
        2 Homestead is operated by the for-profit corporation Comprehensive Health
  19    Services, Inc. ("CHS"). In February 2018, Defendants awarded CHS a $31 million
        contract to oversee the Homestead detention camp.In April 2019, Defendants
  20
        awarded CHS a no-bid contract worth more than $34 J million to expand
  21    Homestead. See Washington Post, Lawmakers ask watchdog to probe migrant teen
        camp ·s contract (May 14, 2019), available at https://www.apnews.com/.
  22    3 The federal government has granted Homestead a "waiver" allowing Homestead
  23    employees to bypass Florida's child abuse and neglect background check system,
        which would be a requirement of state-licensed facility
  24    employees. CBS News, Graham Kates (Jan. 11, 2019), Facihtyfor migrant
  25
        children extends offer letters on the 5,pot amid rapid expansion, available at
        https://www.cbsnews.com/news/homestead-florida-nations-
  26    largest-facility-for­migrant-chi1dren-extends-offer-letters-on-the-spot-amid-rapid-
        expansion/ (last checked May 28, 2019).
  27

  28                                             2
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         would not be subject to State or local licensing standards."8 Defendants use of
  2
         Homestead reveals the Government's intentional disregard
                                                             �    of the binding'--'

         provisions of the Settlement which do not permit unaccompanied minors to be
  4

  5      detained in unlicensed facilities merely because they are on Federal properties.

  6            According to ORR, during an influx it "may not have sufficient bed space
  7
         available within its licensed care provider network to place unaccompanied alien
  8

  9
         cl�ildren. In this situation, ORR arranges for Influx Care Facilities to meet the

  10     need." Id. Defendants deem bed space insufficient within its licensed care
  11
         provider network when 85% of the available beds are occupied by class
  12
         members.9 When that occurs, class members meeting certain criteria are
  13

  14     transferred to Homestead rather than a licensed facility. 1 ° For about half the cost

  15     of detaining minors at Homestead, Defendants could place minors in facilities
  16
         licensed for the care of dependent children.
  17

  18

  ·19.

  _Q
         8 See ORR Children Entering the United States Unaccompanied: Guide to
  2l     Terms, Section 1.7, available at https://www.acf.hhs.gov/orr/resource/children­
         entering-the-united-states-unaccompanied-section-l #1.7. (current as of May 19,
  22     2019).
         9 Ex. 9, Deposition of-_,                                              ( -
         Depo."), at 60:12-14.
  24     10 The ORR criteria for transfer to an Influx Facility include the minor being
  25     be1ween 13-17 years of age; speaks either English or Spanish; has no known
         behavioral or medical issues; has no known special needs; is not be a danger to
  26     self or others; does not have a criminal history; is not a perpetrator or victim of
  27
         smuggling or trafficking activities; is not part of a sibling group with a sibling(s)
         age 12 years or younger; and is not pregnant or parenting. Id. ,i 1.7.2.
  2)
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               There is "currently no[]" maximum amount of time ORR allows a child
  1


               Even when bed space does become available at an ORR licensed facility,
  4

  5      minors detained at Homestead are unlikely to be transferred from Homestead to

  6      a licensed facility with bed space. 11
  7
               At Homestead, children are housed in prison-like conditions and
  8

  9
         unnecessarily incarcerated for up to several months without being determined to

   10    be flight risks or a danger to themselves or others. Once detained at Homestead,
   lI
         the majority of class members are not expeditiously transferred to one of
   12
         Defendants' licensed facilities. See Ex. 5, N.E. Wang, Emergency Medicine and
   ]

   14    Pediatrics at Stanford, Stanford Human Rights in Trauma Mental Health

   ]5    Program, 2018 Individual Program Report: Homestead (April 11, 2019) ("NE
   16
         Wang Report") at 4, Transfer and Discharge. 12 Instead, class members remain at
   17

   18
         Homestead until they are eventually released to a sponsor, or are deported, or

         turn eighteen and "age out" and are transferred to an ICE detention facility for
  20
         deportation. Id.
  21

  2 ..

  __..
  ? -,   11 Ex. I 0, - Depa., at 57:2-4 ("When we were nmning on 85 to 90 percent
         capacity, there was nowhere to put the kids. The minute a child left [a licensed
  24     facility], the beds were taken" by minors not at Homestead).
  r
  _,     12 Defendants provide data to class counsel on a monthly basis, as required by
         the Settlement Agreement. In order to meaningfully analyze this data, pursuant
         to a confidentiality agreement, class counsel provided this data to Stanford
  27
         University researchers led by Dr. Nancy Ewen Wang. Ex. 1, Schey Dec. ,r 6. A
         copy of their analysis as to length of detention is filed herewith as Exhibit 5.
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        Defendants' detaining and treatment of unaccompanied minors in Homestead.
  2
        Ex. 7 cit 2. That harm can be avoided if the Government complies with the terms
  3
        of the Settlement and within fourteen days transfers minors to licensed facilities if
  4

  5     they cannot be released to a parent or sponsor.
  6     4.    Defendants have illegally delayed the release of minors at Homestead
  7           by sharing sponsors' immigration status with the Immigration and
              Customs Enforcement and arresting sponsors who sought the release
  8           of minors.
  9
              The Settlement provides that Defendants may conduct a "positive
  10
        suitability assessment ... prior to release to any individual or program pursuant
  11

  12                                  ,r
        to Paragraph 14." Settlement 1 7.40
  13
              Among the policies responsible for increasing the length of detention of
  14
        minors at Homestead is an ORR/ICE/CBP policy providing: "ORR will provide
  15

  16    ICE with the name, date of birth, address, fingerprints ...and any available

  17    identification documents or biographic information regarding the potential
  18
        sponsor and all adult members of the potential sponsor's household."41 This
  19
        policy was published as ORR Rule 2.5:
  20

  21
        40 A suitability assessment "may include such components as an investigation
  22
        of the living conditions in which the minor would be placed and the standard of
  23    care he would receive, verification of identity and employment of the individuals
        offering support, interviews of members of the household, and a home visit." Id.
  24    Any such assessment "should also take into consideration the wishes and
  25    concerns of the minor. " Id.
        41
           Memorandum of Agreement from the Office of Refugee Resettlement, U.S.
  26    Immigration and Customs Enforcement, and the U.S.Customs and Border
  27
        Protection (June 2018) ,available at: https://www.texasmonthly.com/wp­
        content/up1oads/2018/06/Read-the-Memo-of-Agreement. pdf.
  28                                             22
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        Homestead.47 This testimony is confirmed by the deposition testimony of
  2
        Homestead staff.'18
  3
               ORR also delays release by requiring that "[t]he potential sponsor or
  4

  5     child's family must provide the unaccompanied alien child's birth certificate or a

  6     legible copy of the child's birth certificate." ORR Rule 2.2.4 Proof of Child's
  7
        Identity. Paragraphs 15 and 17 of the Settlement Agreement set forth what is
  8
        required for release from custody, neither of which requires a sponsor to produce
  9

  10    a birth certificate for the minor in custody. 49
  11
               These broad and vague criteria, coupled with ORR's sharing of sponsor's
  12
        fingerprints with ICE, required attendance at a presentation with one of ORR's
  13

  14

  15              11
        47 Al Al is a fourteen-year-old native of Honduras who has been detained at
  16    Homestead since December 3, 2018. He declared "I talk with my social worker
        by a face call on a computer since she is not located here. I believe she is in
  17    Texas someplace. Many kids do not have social workers located here. It would
  18
        be easier if l could talk to my social worker in person. Sometimes, there are
        problems with the Internet and I have to cut my call short or not talk to her at all,
  19    and have to return another time. This has happened to me twice already."
        Declaration of Al Al I Ex. 61 � 5.
  20
        48 Ex. 10, -Depo., at 46:21-47:6, 48:6-7 ("Q: Have you ever been
  21    advised by caseworkers at Homestead that they simply have too many children
        to process or manage? A: Yes. Several times I have heard that, and they have
  22    written that .... [S]ome case managers and some lead case managers ... would
  23    voice that they felt ove1whelmed. ").
        49 ORR also requires that a minor's potential sponsor "attend a presentation
  24    with one of the LOPC [Legal Orientation Program for Custodians] providers
  25    around the country." ORR Rule 2.2.5. See also ORR Rule 2.4.1 (requires "the
        sponsor's attendance at a Legal Orientation Program for Custodians (LOPC)
  26    presentation.") Neither Paragraphs 15 nor 17 of the Settlement Agreement
  27
        require a sponsor to attend a Legal Orientation Program for Custodians
        scheduled at ORR's convenience.
  28                                               26
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   1          5. Grant Plaintiffs their reasonable fees and costs incurred in bringing this
  2
        motion to enforce.
  3
        Dated: June 14, 2019                    Respectfully submitted,
  4

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                                                CONSTITUTIONAL LAW
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1                                   CERTIFICATE OF SERVICE
2

3             I, Laura Diamond, declare and say as follows:
4             I am over the age of eighteen years of age and am a party to this action. I am
5
        employed in the County of Los Angeles, State of California. My business address is
6

7
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.

8              On this date, June 28, 2019, I electronically filed the following document(s):
9
        [REDACTED] CORRECTED POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
10      ENFORCE SETTLEMENT AGREEMENT [FILED UNDER SEAL PURSUANT TO ORDER OF THE
        COURT DATED JUNE 25, 2019]
11

12      with the United States District Court, Central District of California by using the
13      CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
        served by the CM/ECF system.
15

16

17                                                                 /s/Laura Diamond
                                                                   Attorney for Plaintiffs
18

19

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                                                   1
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